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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

 RENZO BARBERI,

 Plaintiff,

 vs.                                               CASE NO.: 1:21-CV-20892-KMM

 VIKING-HD CORP., a Florida Profit
 Corporation and 7921 WAREHOUSE, INC.,
 a Florida Profit Corporation,

 Defendants.
 _____________________________/

                          DEFENDANT 7921 WAREHOUSE, INC.’S
                         ANSWER AND AFFIRMATIVE DEFENSES

         COMES NOW the Defendant, 7921 WAREHOUSE, INC. (“Defendant” or “7921

 Warehouse”), by and through undersigned Counsel, and hereby files its Answer and Affirmative

 Defenses to Plaintiff’s, RENZO BARBERI, Complaint and states the following:

                                ANSWER TO COMPLAINT
                           JURISDICTION, VENUE, AND PARTIES

         1.     Admitted as to Jurisdiction. Denied as to all else.

         2.     Admitted as to Venue. Denied as to all else.

         3.     Defendant is without knowledge, therefore denied.

         4.     Defendant is without knowledge, therefore denied.

         5.     Admitted as to 7921 Warehouse being the owner and lessor of the Real Property

 located at 7901 W. 25th Ct., Hialeah, FL 33016. Denied as to all else.

         CLAIMS: VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

         6.     Defendant incorporates and re-alleges paragraphs 1 through 5.

         7.     Admitted as to the Americans with Disabilities Act (“ADA”).
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       8.     Admitted as to the ADA.

       9.     Admitted as to the ADA.

       10.    Admitted as to the ADA.

       11.    Denied.

       12.    Denied.

       13.    Defendant is without knowledge, therefore denied.

       14.    Admitted as to the ADA.

       15.    Denied.

       16.    Denied.

       17.    Defendant is without knowledge, therefore denied.

       18.    Admitted as to the ADA. Denied as to all else.

       19.    Defendant is without knowledge, therefore denied.

       20.    Admitted as to the statute. Denied as to allegations of wrongdoing.

                                  REQUEST FOR RELIEF

       21.    Denied.

       22.    Denied.

       23.    Denied.

       24.    Denied.

       25.    Denied.

                                AFFIRMATIVE DEFENSES

       Defendant 7921 Warehouse asserts the following affirmative defenses:

                                  First Affirmative Defense

       1.     Plaintiff’s Complaint fails to state a claim upon which relief can be granted.



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                                     Second Affirmative Defense

         2.      Plaintiff lacks standing to file this action.

                                      Third Affirmative Defense

         3.      The Plaintiff’s standing to bring this action for relief against the Defendant in that

 the Plaintiff never patronized the Defendant’s establishment and has no definite intention of

 patronizing the property in the future. The Plaintiff’s desire to have access to the Property is not

 for the purpose of using the property or obtaining access to the goods and services therein, but

 solely for the purpose of determining compliance with ADA.

                                     Fourth Affirmative Defense

         4.      Plaintiff lacks standing to bring this action against the Defendant for purported

 discrimination and denial of access to goods, services, facilities, or portions of the Property (a) to

 which Plaintiff did not seek access prior to filing this action; (b) of which Plaintiff had no

 knowledge prior to commencement of this action, and (c) that are not related to Plaintiff’s

 disabilities.

                                      Fifth Affirmative Defense

         5.      The Plaintiff’s claims are moot as the violations alleged in the Complaint have

 been remedied and are in compliance with the relevant ADA provisions.

                                      Sixth Affirmative Defense

         6.      To the extent that the property is subject to the ADA and its regulations, the

 removal of any architectural barriers is not readily achievable.




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                                    Seventh Affirmative Defense

         7.      In the alternative, and to the extent that the property is subject to the ADA and its

 regulations, the modifications or changes Plaintiff seeks are not easily accomplishable nor is

 Defendant able to carry out the proposed modifications without much difficulty or expense.

                                     Eighth Affirmative Defense

         8.      In the alternative, and to the extent that the property is subject to the ADA and its

 regulations, the cost of renovations, remodeling, or reconstruction or changes or rearrangement

 of structural parts or elements far exceeds the benefits reasonably expected from such

 expenditures, rendering compliance economically unfeasible.

                                Reservation for Additional Defenses

         Defendant reserves the right to assert such additional defenses as may appear applicable

 during the course of this litigation.

         WHEREFORE, Defendant 7921 Warehouse respectfully requests this Court (1) dismiss

 Plaintiff’s Complaint with prejudice and on the merits, (2) award Defendant costs and attorneys’

 fees pursuant to statute, and (3) such other relief as this Court deems equitable, just, and proper.




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    DATE: April 12, 2021
                                            Respectfully submitted,

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                                            By:      s/ Richard L. Richards
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                                                     ALEJANDRA MUÑIZ MARCIAL
                                                     Florida Bar No.: 1019266
                                                     POOJA K. PATEL
                                                     Florida Bar No.: 1025059

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 12th day of April 2021, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record in the manner specified via

 transmission of Notices of Electronic Filing generated by CM/ECF Filing.



                                                  By: s/ Richard L. Richards
                                                     RICHARD L. RICHARDS




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